Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.1 Filed 06/23/21 Page 1 of 20




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MELANIE MARSHALL,

                   Plaintiff,
v.                                            Hon.
                                              Case No. 21-
LIFE INSURANCE COMPANY
OF NORTH AMERICA,
a Pennsylvania corporation,

               Defendant.
_____________________________________________________________/

                                  COMPLAINT

      Plaintiff, MELANIE MARSHALL, through her attorneys, ILANA S.

WILENKIN and FELDHEIM & WILENKIN, P.C., complains against the above-

named Defendant as follows:

                        I.      Jurisdiction and Venue

      1)    This Court's jurisdiction exists under the Employee Retirement

Income Security Act of 1974 ("ERISA"), specifically, 29 U.S.C. §§ 1132(e)(1)

and 1132(f), which provisions grant this Court the jurisdiction to hear civil

actions to recover benefits due under the terms of an employee welfare

benefit plan.
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.2 Filed 06/23/21 Page 2 of 20




      2)     The Henry Ford Health System Health and Welfare Benefit Plan

(the "Plan") consists of, inter alia, a long-term disability insurance plan and

life insurance policy with a waiver of premium due to total disability, which

is sponsored and administered by Henry Ford Health System ("HFHS") and

underwritten by Defendant Life Insurance Company of North America

(“LINA”).

      3)     29 U.S.C. § 1133 provides a mechanism for the administrative

or internal appeal of benefit denials. Plaintiff (“Ms. Marshall”) has either

exhausted all of her appeals or has been denied access to a meaningful

and/or full and fair pre-suit appellate review.      This matter is ripe for

juridical review.

      4)     Pursuant to 29 U.S.C. § 1132(e)(2) and 28 U.S.C. § 1391, venue

is proper in the Eastern District of Michigan.

                           II.    Nature of Action

      5)     This is a claim seeking long-term disability income benefits and

a waiver of life insurance premiums pursuant to the Plan, which is

sponsored and administered by HFHS and underwritten by LINA, and which

Plan was intended to provide long-term disability income benefits and

ongoing life insurance coverage with a waiver of premium due to total


                                       2
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.3 Filed 06/23/21 Page 3 of 20




disability to HFHS employees, including Ms. Marshall. This action is brought

pursuant to § 502(a)(1)(B) of ERISA - 29 U.S.C. § 1132(a)(1)(B).

                              III.   The Parties

      6)     Ms. Marshall is 61-years-of-age. She was, and continues to

remain, a resident of Southgate, Michigan.

      7)     LINA is a Pennsylvania corporation conducting insurance-

related business in Michigan. Upon information and belief, LINA's resident

agent for service of process is CT Corporation System, 40600 Ann Arbor Rd.

East, Suite 201, Plymouth, MI 48170.

      8)     During all relevant times, the Plan constituted an "employee

welfare benefit plan," as defined by 29 U.S.C. § 1002(1), and, incidental to

her employment with HFHS, Ms. Marshall received coverage under the Plan

as a "participant," as defined by 29 U.S.C. § 1002(7). This claim relates to

benefits due under the above-described Plan.

                IV.    Factual Statement & Medical Support

      9)     Ms. Marshall is 61 years-of-age. She began working for HFHS

as a RN-Home Health Care on or about 10/22/12. Ms. Marshall stopped

working for HFHS on or about 11/1/17 due to the following non-exhaustive

list of medical conditions:


                                       3
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.4 Filed 06/23/21 Page 4 of 20




             -    Advanced left hip degenerative arthritis;

             -    right hip arthritis;

             -    mild, sensory, primarily demyelinating, median
                  mononeuropathy at the bilateral wrists;

             -    lumbosacral radiculopathy;

             -    rheumatoid arthritis involving multiple sites, unspecified
                  rheumatoid factor presence;

             -    degenerative arthritic changes involving the facet joints
                  in the lower lumbar spine, most notably at L5-S1
                  bilaterally; and

             -    fibromyalgia.

      10)    Ms. Marshall has not engaged in any substantial, gainful

activity since her last day of work, 11/1/17.         The Social Security

Administration concluded that Ms. Marshall became disabled on 11/1/17,

with benefits payable beginning 4/1/18. (LINA/Marshall Claim File).

       11)   As an insured employee under the Plan, Ms. Marshall applied

to LINA to begin receiving long-term disability benefits as well as a waiver

of life premium due to total disability, which claims LINA approved. LINA

paid Ms. Marshall long-term disability benefits beginning approximately

5/15/18 through 5/15/20, at which time it denied her claim due to its




                                         4
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.5 Filed 06/23/21 Page 5 of 20




determination that she was able to perform sedentary work and was

therefore no longer disabled per Plan terms.

      12)   Through the assistance of counsel, Ms. Marshall appealed

LINA's denial on 9/21/20 and submitted the following medical evidence for

review and consideration:

                          A.       Medical Evidence

      13)   On 3/2/20, Ms. Marshall treated with Dr. Delly (Caitlin Lopez,

CNP) for the following:

            Extremity pain
            The pain is present in the back, left hand, left fingers, right
            hand, right fingers, left hip, left upper leg, left knee, left lower
            leg, left ankle, left foot, right hip, right upper leg, right knee,
            right lower leg, right ankle and right foot. This is a chronic
            problem. The current episode started more than 1 year ago.
            The problem occurs constantly. The problem has been
            gradually worsening. The quality of the pain is described as
            burning (shooting, stabbing). The pain is at a severity of 10/10.
            The pain is severe. Associated symptoms comments: Leg pain,
            pelvic pain. The symptoms are aggravated by activity, lying
            down and standing (bending, twisting, sitting, position). She
            has tried acetaminophen, cold, heat, NSAIDS, oral narcotics
            and rest (PT, chiropractic manipulation, home exercises,
            injection, PT) for the symptoms. The treatment provided
            significant (oral narcotics, heat, rest) relief.

            Patient presents for bilateral hip pain.

            Xray bilateral hips:



                                       5
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.6 Filed 06/23/21 Page 6 of 20




            Slight asymmetric narrowing involving the joint space of the
            left hip. Configuration of both right and left femoral head
            consistent with CAM-type femoral acetabular impingement.
            Suspected subchondral geode associated with the right
            acetabulum.
            IMPRESSION: Mild degenerative findings as stated. . . .

            General: Tenderness present.
            Right hip: She exhibits decreased range of motion, decreased
            strength, tenderness and bony tenderness.
            Left hip: She exhibits decreased range of motion, decreased
            strength, tenderness and bony tenderness.

            Comments: Gait antalgic with cane. Strength 4+/5 lowers
            5/5 uppers.

            Plan:
            1. Referral given for Dr. Eberhardt for bilateral hip pain.
            2. Lyrica 150mg TID
            3. Continue to work on weight loss and overall health.
            4. Continue to follow with Dr. Venkatram.
            5. EMG uppers and lowers.
            6. RTC in 8 weeks.

(Ex. 1of Administrative Appeal).

      14)   Ms. Marshall had a telemedicine visit with Dr. Delly (Rebecca

Russo, CNP) on 4/21/20 to discuss hip pain:

            Assessment:
            Patient is a 60 yo female presenting for her right hip pain and
            feels it's worsening. Notes the lyrica is offering her benefit.
            She had a cancelled orthopedic appointment due to COVID.
            She is taking tramadol that offers benefit as well as heat. She
            also has history of rheumatoid arthritis and see rheumatology
            for this.


                                      6
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.7 Filed 06/23/21 Page 7 of 20




            1.      Recently refilled Lyrica 150mg TID for nerve pain.
            2.      Continue follow up with rheumatology.
            3.     Advised to make appointment with Dr. Eberhardt,
                   regarding right hip.
            4.     Has appointment for EMG lowers next week.

(Ex. 1 of Administrative Appeal).

      15)   On 5/4/20, Ms. Marshall treated with James Eberhardt, D.O.

(orthopaedic surgeon) pursuant to left hip pain:

            Patient comes in today with pain in left hip.
            Her left hip has been very sore for months. Limiting her
            walking daily. Uses a cane. Has RA and is on humera and has
            known neuropathy.
            Seeing Dr Delly . . .

            HARD TIME CLEANING AND DRESSING.
            Left Hip Exam: The thigh and calf are soft and supple to
            palpation. The skin is normal 80 of flexion before pelvic
            motion. Neutral extension. 5 external to 30 external rotation.
            Flexion with internal rotation reproduces the pain. There is no
            pain with hip motion. Sensation and motor are intact in the L2-
            S1 distribution. Capillary refill is brisk to the digits. And
            Extensor and flexor function to the toes and ankle is intact.
            Posterior tibial pulse is palpable. They walk with a limp. A cane
            is used. Images from the hospital show advanced arthritic
            changes.

            Education:
            • Heat Therapy. Advised patient to use hot compress/heating
            pad to involved area for 15-20 min 2-3x/day as needed and
            tolerated for pain relief.

            • Home Ex Program. Home exercise program given and patient
            verbalizes understanding.


                                     7
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.8 Filed 06/23/21 Page 8 of 20




            • Ice, Elevate & NSAIDS PRN. Patient advised to ice, elevate
            and NSAIDS as needed.

            The patient will be seen again as needed. BMI is over so and
            weight reduction is stressed for consideration of surgery.

(Ex. 2 of Administrative Appeal).

      16)   A    5/18/20     lower    extremities   EMG      demonstrated:

"Electrodiagnostic evidence of subacute bilateral S1 radiculopathy affecting

the lower extremities with prior denervation and reinnervation." (Ex. 2 of

Administrative Appeal).

      17)   A 6/1/20 upper extremities EMG indicated:

            Abnormal study.
            1.   There is electrodiagnostic evidence of mild, sensory,
                 primarily demyelinating, median mononeuropathy at
                 the bilateral wrists (carpal tunnel, only if symptomatic).

                   There is no electrodiagnostic evidence of any other
                   mononeuropathy, plexopathy or radiculopathy affecting
                   the upper extremities.

                   There is no electrodiagnostic evidence of generalized
                   peripheral polyneuropathy or inflammatory/necrotizing
                   myopathy affecting the upper extremities.

            Clinical Correlation:
            These abnormal findings can account for portion of the
            numbness and tingling in the hands but not necessarily all the
            numbness and tingling on peripheral nerve and muscle basis.

(Ex. 1 of Administrative Appeal).


                                     8
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.9 Filed 06/23/21 Page 9 of 20




      18)    On 6/2/20, Dr. Delly administered a left hip Marcaine and

Kenalog injection to try and alleviate pain. (Ex. 1 of Administrative Appeal).

      19)    On 6/8/20, Ms. Marshall treated with Dr. Climie (PCP) via video

to discuss, among other matters, medication refills:

             Patient has been staying home mostly during this pandemic.
             She recently saw ortho specialist and was told she need a hip
             replacement but would have to lose about 65 pounds before
             they would do the surgery. Patient requesting to go back on
             phentermine to help with the weight loss. In addition she is
             requesting a home PT evaluation so they can show
             her what activities/exercise she can safely do at home.
             Patient had EMG testing done and was diagnosed with
             bilateral carpal tunnel as well as pinched nerves in her back
             causing her neuropathy and back pain.
             Patient states the Ambien is no longer helping with her
             insomnia. For the last month she has had intermittent
             episodes of room spinning sensation when she tilts her head
             back or moves it to the side too quick.

(Ex. 3 of Administrative Appeal).

      20)    On 6/16/20, Ms. Marshall treated with Dr. Venkatram for a

rheumatoid arthritis follow-up appointment. Dr. Venkatram noted the

following regarding diagnoses and treatment:

             -     Rheumatoid arthritis;
             -     bilateral hip osteoarthritis;
             -     positive ANA (antinuclear body);
             -     fibromyalgia;
             -     degenerative cervical and lumbar disease;
             -     edema; and


                                       9
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.10 Filed 06/23/21 Page 10 of 20




             -      colitis.

 (Ex. 4 of Administrative Appeal).

       21)   On 6/29/20, Dr. Climie prepared a narrative report supporting

 Ms. Marshall's claim and entitlement to benefits:

             Melanie Marshall has been a patient of mine since 2007.

             I believe within a reasonable degree of medical certainty that
             Ms. Marshall has been and shall remain disabled from
             performing any gainful occupation.

             I disagree with the insurance's assessment that she could
             perform a sedentary occupation.

             Ms. Marshall has chronic medical conditions that will not
             improve. Her prognosis is poor.

             Ms. Marshall suffers from multiple medical conditions. She has
             rheumatoid arthritis which causes her to have pain and
             stiffness in multiple joints - hands/ fingers, knees, spine,
             ankles, elbows, feet/ toes. She does see a rheumatologist
             for this condition and has been on multiple different
             medications over the years to try and control her symptoms.

             She also has significant osteoarthritis of both of her hips. She
             needs to have joint replacements but is not a good surgical
             candidate at this time.

             She has degenerative arthritis of her lower spine.

             She has some neuropathy of her lower legs.

             She has bilateral carpal tunnel syndrome.



                                      10
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.11 Filed 06/23/21 Page 11 of 20




              All of these conditions limit her abilities significantly. She ca
              not stand for more than 5 minutes at a time. She can only walk
              short distance at a time and needs to use assistive device often
              due to her back and hip pains. She is not able to sit for longer
              than 20-30 minutes at a time without having to get up and
              move around due to her hip and back pains. She would
              often have to lie down to get off her feet. She is not able to lift,
              carry, push or pull more than 10 pounds due to her arthritis
              and carpal tunnel.

 (Ex. 5 of Administrative Appeal).

       22)    On 6/30/20, OHS ESR ﴾ERYTHROCYTE SED RATE﴿, WESTERGREN

 indicated a value of 56, reference range is 0-30 mm/hour. (Ex. 6 of

 Administrative Appeal).

       Ms. Marshall's c-reactive protein test administered on the same date

 indicated 10.5. (Ex. 6 of Administrative Appeal).

       23)    6/30/20 left hip x-rays demonstrated: "Slight joint space

 narrowing. Configuration of femoral head consistent with CAM‐type

 femoral acetabular impingement. No fracture or dislocation." (Ex. 6 of

 Administrative Appeal).

       24)    Ms. Marshall treated with Dr. Delly on 7/8/20 for back pain:

              This is a chronic problem. The current episode started
              yesterday. The problem occurs constantly. The problem has
              been rapidly worsening since onset. The pain is present in the
              lumbar spine. The quality of the pain is described as shooting,
              stabbing and aching. Radiates to down the left leg. The pain is


                                        11
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.12 Filed 06/23/21 Page 12 of 20




             at a severity of 10/10. The pain is severe. The pain is
             the same all the time. The symptoms are aggravated by
             bending (walking). Associated symptoms include abdominal
             pain, headaches, leg pain, numbness, paresthesias and
             weakness. She has tried bed rest and heat (oral narcotics) for
             the symptoms. The treatment provided no relief.

             MRI 9/2019
             Degenerative arthritic changes involving the facet joints in the
             lower lumbar spine most notably at L5-S1 bilaterally. . . .

             Lumbar
             -    Paraspinal tenderness
             -    Extension and flexion worsens pain
             -    facet loading is positive
             -    rigidity noted
                  strength 5/5 aside from left lower extremity limited by
                  pain and was inconsistent, strength Is at least 4+/5
                  ROM limited to left lower extremity.
                  Straight leg test positive on left side.

             Antalgic and flexed gait patient ambulates with a cane.
             Decreased sensation to left lower extremity compared to right
             lower extremity.

             Diagnoses:
             1.   Lumbosacral radiculopathy (refer to PT and MRI)
             2.   Numbness and tingling of left lower extremity
             3.   Rheumatoid arthritis involving multiple sites, unspecified
                  rheumatoid factor presence (CMS-hcc).

 (Ex. 1 of Administrative Appeal).

       25)   On 8/7/20, Ms. Marshall treated with Dr. Delly for back pain

 and knee pain:



                                     12
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.13 Filed 06/23/21 Page 13 of 20




             Back pain:
             This is a chronic problem. The current episode started more
             than 1 year ago. The problem occurs constantly. The problem
             has been gradually worsening since onset. The pain is present
             in the lumbar spine. The quality of the pain is described as
             aching, burning, cramping, shooting and stabbing. The pain
             radiates to the left thigh, right knee, right thigh
             and left knee. The pain is at a severity of 9/10. The pain is
             severe. The pain is the same all the time. The symptoms are
             aggravated by bending, sitting, position, standing and twisting.
             Stiffness is present in the morning. Associated symptoms
             include leg pain, numbness, pelvic pain and tingling. She has
             tried bed rest, ice, heat and home exercises (oral narcotics,
             Injections, PT, acetaminophen) for the symptoms. The
             treatment provided moderate relief.

             Knee Pain:
             The incident occurred more than 1 week ago. The incident
             occurred at home. The injury mechanism was a fall. The pain
             is present in the left knee, right leg and left leg. The quality of
             the pain is described as aching, burning, cramping, shooting
             and stabbing. The pain is at a severity of 9/10. The pain is
             severe. The pain has been constant since onset.
             Associated symptoms include numbness and tingling. She
             reports no foreign bodies present. The symptoms are
             aggravated by movement (bending, sitting, position, standing,
             twisting). She has tried acetaminophen, heat, ice and rest (oral
             narcotics, PT, injection) for the symptoms. . . .

             MRI of L spine 7/27/20:
             Hypertrophic facet changes from L2-L3 through L5-S1
             The patient called the spinal center but was unable to get in or
             make appointment. Was unable to go to therapy due to
             transportation issues. . . .

             Left knee: She exhibits decreased range of motion and bony
             tenderness. Tenderness found.


                                      13
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.14 Filed 06/23/21 Page 14 of 20




             Lumbar back: She exhibits decreased range of motion,
             tenderness, bony tenderness and pain.

             Comments: Lumbar
             -   Paraspinal tenderness
             -   Extension and flexion worsens pain
             -   facet loading Is positive
             -   rigidity noted

             Strength reduced to lower extremities due to pain. strength is
             at least 4+/5 . . .

             Decreased sensation more to the left lower extremity when
             compared to the right. Antalgic gait ambulates with cane.

             Diagnoses:
             Lumbar spondylosis . . .

             1.     Plan for lumbar medial branch block (LMBB, Facet
                    blocks) at L3-4, L4-5 and L5-S1, if effective will repeat
                    LMBB. Patient is made aware that LMBB is a diagnostic
                    test not a treatment. However if LMBB are effective will
                    proceed to lumbar radiofrequency ablation. Risks and
                    benefit of procedures are discussed including
                    but not limited to increased pain, bleeding, infection,
                    nerve injury, headaches.

             2.     Continue tramadol 50 three times daily per
                    rheumatologist.

             3.     Continue lyrica 150 mg three times daily.

             4.     Xray to left knee due to fall on knee.

             5.     Physical therapy when able.

 (Ex. 1 of Administrative Appeal).


                                        14
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.15 Filed 06/23/21 Page 15 of 20




         26)     A 7/26/20 lumbar MRI demonstrated: "Hypertrophic facet

 changes from L2-L3 through L5-S1." (Ex's. 3 & 6 of Administrative Appeal).

         27)     On 8/8/20, Ms. Marshall had a left knee x-ray that did not

 demonstrate an acute osseous abnormality (Ex's. 3 & 6 of Administrative

 Appeal).

         28)     On 8/17/20 and 9/1/20, Dr. Delly administered a bilateral L3-

 S1 lumbar medial branch block. (Ex. 1 of Administrative Appeal).

         29)     On 9/23/20, Dr. Delly performed lumbar radiofrequency

 ablation. (LINA/Marshall Claim File).

         30)     A 10/5/20 left hip x-ray demonstrated chronic bilateral

 osteoarthrosis, more prominent on left and possible femoral acetabular

 impingement on left. (LINA/Marshall Claim File).

         31)     In a letter dated 2/17/21, LINA advised Ms. Marshall that it had

 two doctors (psychiatrist1 and internal medicine) review her records in

 connection with her administrative appeal as well as a vocational

 counselor. LINA provided copies of said reports so Ms. Marshall's providers

 could review and comment if desired.



 1 Ms. Marshall's disability is not due to mental health complaints, so Dr. Taff's opinions will not be
 addressed.


                                                  15
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.16 Filed 06/23/21 Page 16 of 20




       32)   On 10/22/20, LINA directed Ms. Marshall's records to Sasan

 Massachi, M.D. (internal medicine) who, in relevant part, determined:

             •     Lumbosacral radiculopathy: Moderate functional
                   impairment based on physical exam findings and
                   imaging studies. The claimant has intermittently positive
                   SLR on the left, antalgic gait, use of cane for ambulation,
                   and electrodiagnostic evidence of subacute bilateral Sl
                   radiculopathy.

             •     Seronegative rheumatoid arthritis: No restrictions or
                   limitations.

             •     Fibromyalgia: No restrictions or limitations.

             •     Bilateral hip osteoarthritis: Moderate functional
                   impairment based on physical exam findings and
                   imaging studies. Claimant's morbid obesity contributes
                   to her hip conditions.

             •     Mild bilateral CTS: No restrictions or limitations. The
                   EMG/ NCS demonstrated findings that could be
                   consistent with mild CTS. However, without
                   documented, clinically significant thenar muscle atrophy
                   or loss of discriminatory sensation, carpal tunnel
                   syndrome is not a definite indicator of functional
                   impairment or activity restrictions. . . .

             Based on provided medical records, Ms. Marshall is
             functionally limited to a moderate degree and is able to work
             with some activity restrictions:

             Sitting: Unrestricted
             Standing: Occasional, 30 min at a time, up to 2.5 hours per day
             Walking: Occasional, 30 min at a time, up to 2.5 hours per day
             Lifting: Occasional up to 10 lbs.


                                     16
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.17 Filed 06/23/21 Page 17 of 20




                Carrying: Occasional up to 10 lbs.
                Pushing: Occasional up to 10 lbs.
                Pulling: Occasional up to 10 lbs.
                Climbing stairs: Occasional
                Climbing ladders: Occasional
                Stooping: Occasional
                Kneeling: Occasional
                Crouching: Occasional
                Crawling: Occasional
                Reaching: Unrestricted at desk level, occasional below waist
                and overhead Using lower extremities for foot controls:
                Unrestricted
                Fine manipulation: Unrestricted
                Simple and firm grasping: Unrestricted. . . .

                Dr. Venkatram identified, at 10/21/2020 1:58:31 PM, that the
                claimant was seen in December 2019 and again in March 2020,
                with a history of rheumatoid arthritis, and notes that the
                claimant has difficulty/restrictions performing ADLs. Dr.
                Venkatram is unable to provide a definite recommendation as
                to the claimant's work abilities, but notes that the claimant
                does have difficulties even with ADLs.

 (LINA/Marshall Claim File).

       33)      A 10/26/20 transferrable skills analysis concluded that based

 on Dr. Massachi's restrictions, Ms. Marshall was able to work as a

 telephonic triage nurse and a utilization-review coordinator. (LINA/Marshall

 Claim File).

       34)      On 3/6/21, Ms. Marshall participated in a telephonic

 vocational assessment with Elizabeth Pasikowski, MRC, CRC.               After



                                        17
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.18 Filed 06/23/21 Page 18 of 20




 reviewing Ms. Marshall's file and interviewing her, Ms. Pasikowski offered

 the following vocational opinions:

              SUMMARY:
              The Transferable Skill Analysis performed by Nicole Surmacy
              MS CRC utilized the following restrictions:

                    Unrestricted – sit, reach at desk level, fine manipulate,
                    simple and grasp, use lower extremities for the time
                    period in question.
                    Occasionally – stand 30 minutes at a time, up to 2.5
                    hours/day, walk 30 minutes at a time, up to 2.5 hours/
                    day, reach below waist and overhead, lift/carry/
                    push/pull up to 10 lbs. climb stairs and ladders, stoop,
                    kneel, crouch, crawl

              These restrictions are based on a file review by Dr. Massachi
              with a diagnosis of Fibromyalgia.

              These restrictions, as based on Dr. Climie’s opinion are not
              appropriate.

                    I disagree with the insurance’s assessment that she
                    could perform a sedentary occupation.
                    She has osteoarthritis of both hips, degenerative
                    arthritis of her lower spine, neuropathy of her lower
                    legs, rheumatoid arthritis. She needs to have joint
                    replacements but is not a good surgical candidate at this
                    time.

              If Dr. Climie’s opinion is determined to be appropriate, then
              Ms. Marshall is unemployable and would not be able to
              perform either of the positions listed in the Transferable Skills
              Analysis.

  (LINA/Marshall Claim File).


                                       18
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.19 Filed 06/23/21 Page 19 of 20




       35)    LINA's medical reviewer, Dr. Massachi, authored two

 addendums (11/3/20 and 2/11/21) in connection with Ms. Marshall's

 updated records that demonstrated positive bone scan findings and

 abnormal lab values.      Despite ongoing objective findings documenting

 claimed conditions and functional impairment, Dr. Massachi stated that the

 information did not change his previous opinions.

       36)    On 3/29/20, LINA formally denied Ms. Marshall's long-term

 disability and waiver of life premium claims based solely on Dr. Massachi's

 opinions and the transferrable skills analysis that was predicated on his

 opinions.

       37)    LINA’s    actions   have    now    foreclosed   all   avenues   of

 administrative appeal and this matter is ripe for judicial review.

       38)    Because valid, objective, and well-supported proofs establish

 that Ms. Marshall has continued to meet and satisfy the Plan’s definition of

 disability for LTD and waiver of premium purposes as of 5/17/20 until the

 date that Ms. Marshall turns 65, she is entitled to ongoing indemnity

 monthly benefits in the amount of $2,063.00, which is the net LINA benefit

 after crediting her Social Security Disability benefit.




                                         19
Case 2:21-cv-11467-DML-CI ECF No. 1, PageID.20 Filed 06/23/21 Page 20 of 20




       WHEREFORE, based upon the preceding reasons, Plaintiff prays for

 the following relief:

              A)     That this Court enter judgment in Ms. Marshall's favor
                     against LINA and order the immediate payment of
                     long-term disability benefits as well as a waiver of
                     life premium;

              B)     That this Court order LINA to pay Ms. Marshall
                     prejudgment interest pursuant to Horn v. McQueen, 353
                     F. Supp. 2d 785 (2004) and post-judgment interest in
                     accordance with M.C.L. § 600.6013 and 600.6455;

              C)     That this Court award attorneys' fees pursuant to 29
                     U.S.C. § 1132(g); and

              D)     That Ms. Marshall recover all relief to which he may be
                     entitled, along with the costs of litigation.


                           Respectfully submitted:

                           FELDHEIM & WILENKIN, P.C.

                           By:   s/Ilana S. Wilenkin
                                 Ilana S. Wilenkin (P61710)
                                 Plaintiff's attorney
                                 30300 Northwestern Highway, Suite 108
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 Dated: June 23, 2021




                                      20
